                     UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                          3:11-cr-00337-RJC-DSC

 USA                                      )
                                          )          ORDER
       vs.                                )
                                          )
 CORVAIN T. COOPER (12)                   )



       THIS MATTER is before the Court upon motion of the defendant pro se for

compassionate release under 18 U.S.C. § 3582(c)(1)(A), as amended by the First

Step Act of 2018. (Doc. No. 622).

       The defendant is serving a life sentence resulting from his convictions for

conspiring to distribute and possess with intent to distribute at least 1,000 kg of

marijuana, conspiring to commit money laundering, and structuring currency

transactions. (Doc. No. 461: Judgment at 1-2). The defendant seeks compassionate

release claiming his prior felony drug offenses have been downgraded, the current

penalty for his offense is a mandatory minimum of 25 years, the definition of “felony

drug offense” has been amended, and marijuana has become a billion dollar

industry traded on the New York Stock Exchange. (Doc. No. 622: Motion at 2, 9).

       Ordinarily, a court may not modify a sentence once it is imposed. 18 U.S.C. §

3582(c). Section § 3582(c)(1)(A)(i) provides an exception that allows a court to

reduce a sentence, after consideration of the factors in § 3553(a), upon finding that

“extraordinary and compelling reasons warrant such a reduction,” and that “such a

reduction is consistent with applicable policy statements issued by the Sentencing




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Commission.” Section 1B1.13 of the Guidelines Manual contains the Commission’s

policy statement, promulgated under statutory authority to “describe what should

be considered extraordinary and compelling reasons for sentence reduction,

including the criteria to be applied and a list of specific examples.” 28 U.S.C. §

994(t), USSG §1B1.13, comment. (backg’d). As the movant, the defendant bears the

burden of proving his suitability for a § 3582 sentence reduction. United States v.

Hamilton, 715 F.3d 328, 337 (11th Cir. 2013). However, the changes in sentencing

law and the legalization of marijuana in some states do not meet any of the criteria

for relief in §1B1.13.

       IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No.

622), is DENIED.

       The Clerk is directed to certify copies of this order to the defendant and the

United States Attorney.

 Signed: August 6, 2020




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